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                                       Certificate Number: 06761-FLM-DE-033062130
                                       Bankruptcy Case Number: 19-05722


                                                      06761-FLM-DE-033062130




              CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on June 30, 2019, at 7:12 o'clock PM EDT, Katrina Jurilli
completed a course on personal financial management given by internet by $$
Bankruptcy Debtor Education, a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
Middle District of Florida.




Date:   July 4, 2019                   By:      /s/Helen L. Cagle


                                       Name: Helen L. Cagle


                                       Title:   Manager
